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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:06-cr-00027-MP-AK

FREDERICK CHARLES HALL,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 199, Motion to Continue Disposition, filed by

Defendant Frederick Hall. In his motion, Defendant Hall states that he has not completed the

terms of his plea and cooperation agreement with the Government. Because of this,

Defendant requests that his sentencing hearing, currently set for February 20, 2008, be

continued. The Government does not object to the requested continuance. Accordingly,

Defendant Hall’s motion is granted, and the sentencing hearing is continued to Thursday,

March 20, 2008, at 2:00 p.m.


       DONE AND ORDERED this            19th day of February, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
